Case 2:04-cr-20145-JDC-KK   Document 288   Filed 03/28/07   Page 1 of 7 PageID #:
                                     798
Case 2:04-cr-20145-JDC-KK   Document 288   Filed 03/28/07   Page 2 of 7 PageID #:
                                     799
Case 2:04-cr-20145-JDC-KK   Document 288   Filed 03/28/07   Page 3 of 7 PageID #:
                                     800
Case 2:04-cr-20145-JDC-KK   Document 288   Filed 03/28/07   Page 4 of 7 PageID #:
                                     801
Case 2:04-cr-20145-JDC-KK   Document 288   Filed 03/28/07   Page 5 of 7 PageID #:
                                     802
Case 2:04-cr-20145-JDC-KK   Document 288   Filed 03/28/07   Page 6 of 7 PageID #:
                                     803
Case 2:04-cr-20145-JDC-KK   Document 288   Filed 03/28/07   Page 7 of 7 PageID #:
                                     804
